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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

ALISON S. ROGERS,                               §             CIVIL NO. 4:18-cv-04181
     Plaintiff,                                 §
                                                §
vs.                                             §
                                                §
CAR WASH PARTNERS, INC.                         §
DBA MISTER CAR WASH, CO.,                       §     Removed from the 152nd District Court
AND JOHN DOE                                    §     of Harris County, Texas (2018-65634)
     Defendant.                                 §

                         DEFENDANT CAR WASH PARTNERS, INC.’S
                          CERTIFICATE OF INTERESTED PARTIES

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        Defendant Car Wash Partners, Inc. dba Mister Car Wash Co. files this Certificate of

Interested Persons in accordance with the Court’s January 10, 2019 Order [Dkt. 4]. Defendant

certifies the following lists all known persons, associations of persons, partnerships, corporations,

parent corporations or other legal entities that are financially interested in the outcome of this

litigation:

              1. Alison S. Rogers - Plaintiff

              2. Car Wash Partners, Inc. - Defendant and parent corporation of CWP Asset Corp.

              3. CWP Asset Corp. - Wholly-owned subsidiary of Car Wash Partners Inc., and

                 employer of driver involved in subject accident.

        None of the above-listed companies are publicly traded.

        The undersigned Counsel will promptly file an amended certificate of disclosure if

additional persons or entities that are financially interested in the outcome of litigation are

identified.
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                                            Respectfully submitted and signed
                                            Pursuant to Federal Rule of Civil Procedure 11,

                                            GERMER BEAMAN & BROWN PLLC
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                                            By:
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                                            ATTORNEYS FOR DEFENDANT
                                            CAR WASH PARTNERS, INC.



                               CERTIFICATE OF SERVICE

       I hereby by my signature below that a true and correct copy of the foregoing document was
served on all counsel of record in compliance with the Federal Rules of Civil Procedure and the
Local Rules for the Southern District of Texas on this the 25th day of January 2019.

Charles J. Rogers                           Via E-Mail: CRogers@longevitysports.com
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Attorney for Plaintiff




                                            Gregg R. Brown




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